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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ARMEND A. TRNAVA,                                   )
                                                    )
                      Plaintiff,                    )
                                                    )   Case No. 20 C 0928
       v.                                           )
                                                    )   Judge Sharon Coleman
CHICAGO CUT STEAKHOUSE, LLC,                        )
                                                    )   Magistrate Judge Maria Valdez
                      Defendant.                    )

   DEFENDANT’S AGREED MOTION FOR EXTENSION OF TIME TO FILE ITS
 PARTIAL MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT AND TO
            RESPOND TO PLAINTIFF’S RULE 60(b) MOTION

       Defendant, Chicago Cut Steakhouse, LLC, by and through its attorney, pursuant to Fed.

R. Civ. P. 6(b), moves this Court for an extension to file its partial motion to dismiss Plaintiff,

Armend A. Trnava’s (“Plaintiff”), Amended Complaint (Dkt. 44) and Plaintiff’s Motion for

Reconsideration pursuant to Fed. R. Civ. P. 60(b) (Dkt. 49). In support of its Motion, Defendant

states as follows:

       1.      On May 25, 2021, Plaintiff filed an Amended Complaint and, on July 9, 2021,

filed a Motion to Reconsider the Court’s dismissal of part of his claims pursuant to Fed. R. Civ.

P. 60(b). Dkts. 44. On July 6, 2021, the Court entered a briefing schedule. Dkt. 47.

       2.      On August 17, 2021, Defendant moved to extend the briefing schedule due to a

death in its counsel’s family, which Plaintiff did not oppose. Dkt. 54. The Court granted

Defendant’s motion and revised the briefing schedule as follows: (a) Defendant’s Motion to

Dismiss the Amended Complaint and response to Plaintiff’s Rule 60(b) Motion due on August

27, 2021; (b) Plaintiff’s reply in support of his Rule 60(b) Motion and response to Defendant’s

Motion to Dismiss due on September 24, 2021; and (c) Defendant’s reply in support of its

Motion to Dismiss due on October 8, 2021. Dkt. 55.
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       3.      Defendant’s counsel’s personal issue extended more than expected. Therefore,

Defendant respectfully requests another extension to file Defendant’s Motion to Dismiss and

response to Plaintiff’s Rule 60(b) Motion, and that the briefing schedule be revised as follows:

(a) Defendant’s Motion to Dismiss the Amended Complaint and response to Plaintiff’s Rule

60(b) Motion due on September 7, 2021; (b) Plaintiff’s reply in support of his Rule 60(b) Motion

and response to Defendant’s Motion to Dismiss due on October 5, 2021; and (c) Defendant’s

reply in support of its Motion to Dismiss due on October 19, 2021.

       4.      Defendant appreciates the Court’s time and resources, and does not make this

request lightly. This is Defendant’s third request for an extension of time for its Motion to

Dismiss the Amended Complaint and response to Plaintiff’s Rule 60(b) Motion. Defendant does

not bring this Motion for purposes of delay and no party will be prejudiced by granting the relief

sought in this Motion.

       5.      On August 27, 2021, Plaintiff, through his attorney Allison Muth, informed

Defendant’s attorney that Plaintiff does not oppose this Motion.

       WHEREFORE, Defendant respectfully requests that the Court grant this Motion and

enter the revised briefing schedule containing the dates in Paragraph 3 above.

Dated: August 27, 2021                         Respectfully submitted,

                                               CHICAGO CUT STEAKHOUSE, LLC

                                               By:    /s/Antonio Caldarone
                                                      One of Its Attorneys


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                               CERTIFICATE OF SERVICE

       I, Antonio Caldarone, an attorney, hereby certify that on August 27, 2021, I caused to be

served a copy of the foregoing Defendant’s Agreed Motion for Extension of Time to File its

Partial Motion to Dismiss Plaintiff’s Amended Complaint and Respond to Plaintiff’s Rule

60(b) Motion, in the above-captioned matter to be filed with the Clerk of the District Court and

served on the parties of record, including those listed below, by operation of the Court’s

CM/ECF electronic filing system, addressed to:

                                    Robert Holstein
                                    Allison K. Muth
                                    Law Offices of Holstein & Muth
                                    130 North Garland Court, Suite 1906
                                    Chicago, Illinois 60602
                                    holsteinrobert3@gmail.com
                                    allison.muth.law@gmail.com



                                            /s/Antonio Caldarone
                                            Antonio Caldarone




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